                                    UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NEW YORK
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CAROL MISSRY and HYMAN MISSRY, individually
and on behalf of all others similarly situated,

                                                                  [PROPOSED] CIVIL CASE
                                                                  DISCOVERY PLAN
                  - against -                Plaintiff(s),        AND SCHEDULING ORDER


SAMUEL MESSINGER, AMERICA’S TRUST
INSURANCE, and ATI AGENCY, INC.,

                                              Defendant(s).       Hon. Sterling Johnson, Jr.
                                                                  Case No. 1:18-cv-07226-SJ-LB

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        This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
 counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

         1.       All parties do not consent to conducting all further proceedings before a
                  Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c). The
                  parties are free to withhold consent without adverse substantive consequences. (If
                  all parties consent, the remaining paragraphs of this form need not be completed.)

         2.       This case is to be tried to a jury.

         3.       Joinder of additional parties must be accomplished by
                  June 4, 2019.

         4.       Amended pleadings may be filed until June 4, 2019.

         5.       Interrogatories shall be served no later than June 11, 2019, and responses thereto
                  shall be served within thirty (30) days thereafter. The provisions of Local Civil
                  Rule 33.3 shall apply to this case.

         6.       First request for production of documents, if any, shall be served no later than
                  June 11, 2019 and responses thereto shall be served within thirty (30) days
                  thereafter.

         7.       Non-expert depositions shall be completed by December 30, 2019.

                  a.       Unless counsel agree otherwise or the Court so orders, depositions shall not
                           be held until all parties have responded to any first requests for production
                           of documents.

                  b.       Depositions shall proceed concurrently.

                  c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
                   non-party depositions shall follow party depositions.

    8.     Any further interrogatories, including expert interrogatories, shall be served no
           later than December 30, 2019.

    9.     Requests to Admit, if any, shall be served no later than
           December 15, 2019.

    10.    Expert reports shall be served no later than January 31, 2020.

    11.    Rebuttal expert reports shall be served no later than March 31, 2020.

    12.    Expert depositions shall be completed by April 30, 2020.

    13.    Additional provisions agreed upon by counsel are attached hereto and made a part
           hereof.

    14.    ALL DISCOVERY SHALL BE COMPLETED BY April 30, 2020.

    15.    Any motions for Class Certification and/or Summary Judgment shall be filed by
           May 30, 2020.

    16.    The parties may, by agreement, adjust the dates in this Order so long as all
           discovery is completed by the date referenced in Paragraph 14.

    17.    If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
           the Magistrate Judge will schedule a date certain for trial and will, if necessary,
           amend this Order consistent therewith.

    18.    The next case management conference is scheduled for                                     ,
           at              .



    SO ORDERED.

Dated: Brooklyn, New York



                                                           Sterling Johnson, U.S. District Judge
